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                        Exhibit A
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Northern District of California

             In re DMCA Subpoena to X Corp.                                   )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                                                                              )
                                                                              )
                              Defendant                                       )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
To:                                                                          X Corp.

                                                       (Name of person to whom this subpoena is directed)


          Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:

               SEE ATTACHMENT 1.

  Place:        By email to: mmartemucci@gammalaw.com; or at                             Date and Time:          1/28/2025 12:00pm
                Gamma Law, P.C., attn: M. Martemucci, One
                Sansome Street, St. 3500, San Francisco, CA 94104

           Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance; Rule
45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:
                                  CLERK OF COURT
                                                                                           OR

                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Starto Entertainment, Inc.                                                   , who issues or requests this subpoena, are:
Marco Martemucci, Gamma Law PC, One Sansome Street, Ste 3500, San Francisco, CA 94104, 415.296.9927,
mmartemucci@gammalaw.com
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                 I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                   ; or

                 I returned the subpoena unexecuted because:
                                                                                                                                               .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                               for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as trial-
order must protect a person who is neither a party nor a party’s officer from      preparation material, the person making the claim may notify any party that
significant expense resulting from compliance.                                     received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or




                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                     ATTACHMENT 1

YOU ARE COMMANDED TO PRODUCE AT THE TIME, DATE, AND PLACE SET
FORTH IN THE SUBPOENA THE FOLLOWING DOCUMENTS, ELECTRONICALLY
STORED INFORMATION, OR OBJECTS, AND TO PERMIT INSPECTION, COPYING,
TESTING, OR SAMPLING OF THE MATERIAL:

  1. Documents or electronically stored information (ESI) containing identifying information
     for each X user account associated with each of the URLs listed below (collectively, the
     “Infringing Accounts”), including without limitation name(s), last known telephone and/or
     cell phone number(s), any and all email address(es); account number(s); billing
     information (including, but not limited to, names, telephone number(s), and mailing and
     billing address(es) of each of all of the payment methods (including, but not limited to,
     credit cards, bank accounts, and any online payments system), hosting provider(s),
     server(s), any other contact information and any and all logs of IP address(es), relating to
     each individual or business entity that operates or owns each of the Infringing Accounts,
     and each individual or business entity that has hosted content, uploaded content, and/or has
     contracted with others to upload or host content using the Infringing Accounts, from any
     and all sources, including without limitation billing or administrative records with
     timestamps from the time of the registration of each of the Infringing Accounts until the
     date of this subpoena.

  2. All access log information (IP addresses, corresponding port numbers, corresponding dates
     and times, access type, and corresponding destination IP addresses) relating to each of the
     Infringing Accounts listed below for the six (6) months immediately preceding the date of
     this subpoena.

                                    Infringing Accounts:


                   https://x.com/we are_starto
                   https://x.com/_weare_starto
                   https://x.com/Weare_Starto
                   https://x.com/official_we_are
                   https://x.com/WEARE_STARTO24
                   https://x.com/live_music48827
                   https://x.com/japantourtv
                   https://x.com/weare starto
                   https://x.com/WEARE_STARTOJPN
                   https://x.com/were_starto_jp
                   https://x.com/_WEARESTARTO
                   https://x.com/Starto_staff

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          https://x.com/weare_start0
          https://x.com/Are_Starto we_
          https://x.com/Wearestarto_f
          https://x.com/startofess
          https://x.com/We_Ar_StartoJP
          https://x.com/superlive_2024
          https://x.com/WEARESTARTO_JPN
          https://x.com/JPliveFES_1
          https://x.com/FansSbs_jp
          https://x.com/ArundhatiK110
          https://x.com/24MusicJAP28526
          https://x.com/StartoWe5
          https://x.com/StartoWeare
          https://x.com/WeStartoFamily
          https://x.com/WEARE_STARTO_
          https://x.com/starto_jnp
          https://x.com/kikujph
          https://x.com/1_WEARE_STARTO
          https://x.com/we_are_starto1
          https://x.com/JP_STREAMING_24
          https://x.com/we_arestarto_jp
          https://x.com/TheIdolm46198
          https://x.com/starto jp
          https://x.com/starto_are
          https://x.com/arestarto
          https://x.com/JPSTREAMING_24
          https://x.com/Starto_We
          https://x.com/moriko_musicfan
          https://x.com/streamingl35000
          https://x.com/Weare_startos
          https://x.com/ArenaNo10038444
          https://x.com/MiuNamura
          https://x.com/we are starto
          https://x.com/mariJPan
          https://x.com/Starto_Are_We_
                               2
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          https://x.com/TheIdolm15310
          https://x.com/Japanbroadcast6
          https://x.com/we_are starto
          https://x.com/ANo98011943
          https://x.com/JAPANTOKYOLIVE_
          https://x.com/JAPAN_OFFI_2024
          https://x.com/Arena00Liv85558
          https://x.com/We_AreStarto_
          https://x.com/StartoAre
          https://x.com/Weare_Starto_x
          https://x.com/lipi64201278336
          https://x.com/we are_startoo
          https://x.com/jonota18
          https://x.com/wearestartotv
          https://x.com/we_are_startohd
          https://x.com/_we_are starto
          https://x.com/official80428
          https://x.com/starto_we55680
          https://x.com/Rakib257417
          https://x.com/StartoWe82377
          https://x.com/mkhgdrgh2173920
          https://x.com/24live_NCT
          https://x.com/60Furusato79
          https://x.com/Sovon921642
          https://x.com/Live_link2024
          https://x.com/24Livestream_jp
          https://x.com/Rahman289219
          https://x.com/69livestreaming
          https://x.com/starto lets
          https://x.com/LIVE241485839
          https://x.com/24_stream60509
          https://x.com/wearstarto
          https://x.com/Startmusic99565
          https://x.com/Kingprincejp
          https://x.com/artist_2024
                               3
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          https://x.com/jpn_live23_
          https://x.com/WEARELetsg139
          https://x.com/japanAll80
          https://x.com/wearestarto_
          https://x.com/broadcast93890
          https://x.com/broadcast33842
          https://x.com/emi_kajp
          https://x.com/golam70752318
          https://x.com/onlinetokyo_
          https://x.com/onlinetokyotv_
          https://x.com/WERSTARTO
          https://x.com/L202418465
          https://x.com/hikari_jpnews
          https://x.com/we_are_startojp
          https://x.com/WERSTARTOFICL
          https://x.com/JPLIVE847637
          https://x.com/fzijpan
          https://x.com/budokan_ni82812
          https://x.com/broadcast7949
          https://x.com/BroadCast17716
          https://x.com/Watanab86875
          https://x.com/startofor_U
          https://x.com/events_2024
          https://x.com/sabbir72289105
          https://x.com/we_starto
          https://x.com/AK_voting
          https://x.com/_Japanlive
          https://x.com/starto_for_U
          https://x.com/KingSuperLiveJP
          https://x.com/Startofor_you
          https://x.com/streamingJ30
          https://x.com/CunXiang47873
          https://x.com/DomeTv00
          https://x.com/WEARELetsg91787
          https://x.com/Popi423624
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          https://x.com/OshiAkane61873
          https://x.com/onlinejapan_
          https://x.com/KpopV6509
          https://x.com/THESHOWLIV98686
          https://x.com/Starto_Japann
          https://x.com/we_arre_starto
          https://x.com/are_starto
          https://x.com/ak_ane_jp
          https://x.com/Rabby6133193961
          https://x.com/JConcart60318
          https://x.com/We_Ar_Starto
          https://x.com/we_are_starrto
          https://x.com/The1st_BDMA
          https://x.com/jpliveview1
          https://x.com/official_xpjp
          https://x.com/musix_anim46129
          https://x.com/NArena882383
          https://x.com/milkmil64625
          https://x.com/AsscJapan
          https://x.com/Arena00No
          https://x.com/fardin1215894
          https://x.com/Malek1117410
          https://x.com/WEARELetsg57056
          https://x.com/STARTO_JP_X
          https://x.com/Alen646590
          https://x.com/Sontu87851106
          https://x.com/startostaff_
          https://x.com/JAPANSP180801
          https://x.com/NoArena36535
          https://x.com/Bondon413366
          https://x.com/Bari50072137
          https://x.com/wearestarto_jp
          https://x.com/WEARELetsg38472
          https://x.com/official_stf_jp


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